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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

 DANIEL S. NEWMAN, as a Receiver for
 Founding Partners Capital Management
 Company; Founding Partners Stable-
 Value Fund, L.P.; Founding Partners
 Stable-Value    Fund,   II,    L.P.;
 Founding Partners Global Fund, Ltd.,
 and Founding Partners Hybrid-Value
 Fund, L.P.,

                        Plaintiff,

 vs.                                    Case No.    2:09-cv-445-FtM-29SPC

 SUN   CAPITAL,    INC.   a   Florida
 corporation; SUN CAPITAL HEALTHCARE,
 INC., a Florida corporation; HLP
 PROPERTIES OF PORT ARTHUR, LLC, a
 Texas limited liability company,

                     Defendants.
 ___________________________________

                        AMENDED OPINION AND ORDER

       This matter comes before the Court on the Joint Motion for

 Approval of Revised Settlement Agreement and Amendment of May 17

 Opinion and Order (Doc. #306), filed on June 11, 2012.                   No

 responses or objections have been filed to the proposed revisions,

 and the time to do so has expired.         The prior objections to the

 settlement agreement remain as set forth in prior documents filed

 with the Court.       The motion will be granted as to both its

 requests.    The Court’s prior Opinion and Order (Doc. #304) is

 superceded by this Amended Opinion and Order.

       The issue before the Court is whether to approve a proposed

 settlement agreement between the Receiver and defendants, to which
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 numerous objections have been filed, as now revised.                  For the

 reasons set    forth   below,   the   Court   will   approve    the   revised

 settlement agreement in this Amended Opinion and Order.

                                       I.

      This matter came before the Court on a Joint Motion for

 Expedited Approval of Proposed Procedure to Obtain Court Approval

 of the Proposed Settlement Transaction (Doc. #248) and Supplement

 (Doc. #249), both filed on December 9, 2011.         The Court entered an

 Order    Preliminar[il]y     Approving     Settlement   Transaction       and

 Scheduling Deadlines (Doc. #255) on December 27, 2011, as clarified

 by an Order (Doc. #258) filed on January 12, 2012.             Objections to

 the proposed settlement agreement were filed by the Roman Catholic

 Church of the Archdiocese of New Orleans (Doc. #259), 118 Investors

 (Docs. #260, 262), and TJNJH Investment Partnership and Kathleen

 Ann Olberts (Docs. #264, 275).        The objectors adopted each other’s

 objections, except perhaps for those objections unique to the Roman

 Catholic Church of the Archdiocese of New Orleans1, TJNJH, and

 Olberts2.   Defendants’ Omnibus Memorandum In Response to Investor

 Objections (Doc. #278) and The Receiver’s Response to Investor


      1
      Specifically, the Archdiocese of New Orleans asserts an
 objection based on religious freedoms contained in the United
 States Constitution. This objection was not adopted by any other
 objector.
      2
      TJNJH and Olberts joined in the objections with the 118 other
 Investors. In addition, they also filed a separate objection (Doc.
 275-5) which raise matters relevant only to investors in both
 Stable-Value and Hybrid-Value funds.

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 Objections (Doc. #279) were filed on February 24, 2012.                  The

 Receiver’s    Notice    of    Compliance    with    the   Court’s     Order

 Preliminarily Approving the Settlement Transaction (Doc. #292) and

 the Receivers’ Notice of Filing [of the Disclosure of Fees and

 Costs] (Doc. #293) were then filed.        The 118 Investors also filed

 a sealed Confidential Supplement to Objections of Investors to

 Proposed Settlement (Doc. #S-4), to which the Receiver filed a

 sealed Response (Doc. #S-5).

      The Court held a fairness hearing on the proposed settlement

 on March 30, 2012, and heard from counsel for the parties and

 counsel for    the   objectors.     Defendants and the       Receiver,   as

 requested by the Court (Doc. #299), filed supplemental responses to

 the Hybrid-Value Objection on May 11, 2012. (Docs. ##302-303.) As

 the Court stated at the end of the fairness hearing, the Court

 appreciates the assistance of all counsel in the development and

 discussion of the issues in this case.

      The Court’s May 17, 2012 Opinion and Order (Doc. #304) stated

 that the Court would approve the settlement agreement except for

 one non-financial provision. The Court suggested a modification of

 that provision; gave the parties an opportunity to consider such a

 modification; and withheld a final decision pending notification by

 the parties as to their positions on the proposed modification.

 The parties have now filed a revised settlement agreement (Doc.

 #306-1) addressing the Court’s concerns.


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                                       II.

 A.    SEC Action

       The origin of this case began with a five-count civil action

 in Case No. 2:09-cv-229-29SPC filed by the United States Securities

 and Exchange Commission (the SEC) against Founding Partners Capital

 Management Company (“Founding Partners Management”) and William L.

 Gunlicks (“Gunlicks”) (“the SEC Action”) on April 20, 2009.               The

 SEC Action also named two Sun Capital entities and the four other

 Founding Partners entities as relief defendants. Founding Partners

 Management was described as a Florida corporation registered as an

 investment advisor with the SEC, and Gunlicks was described as the

 president,    CEO,    and    sole    shareholder     of    Founding   Partners

 Management, and the beneficiary of management fees obtained by

 Founding Partners Management.

       The SEC Action alleged that Founding Partners Management and

 Gunlicks (collectively the “SEC Defendants”) operated three hedge

 funds and one mutual fund which solicited funds from various

 investors.    Since 2001,      Founding Partners Management made loans

 with the investment funds to Sun Capital, Inc. and Sun Capital

 Healthcare, Inc. (collectively, “Sun Capital”) through its primary

 fund, Founding Partners Stable-Value Fund, LP (“Stable-Value”).

 Sun   Capital,     Inc.   utilized   the    loans   from   Founding   Partners

 Management to fund the discounted purchase of accounts receivables;

 Sun Capital Healthcare, Inc. utilized the loans from Founding


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 Partners Management to purchase discounted accounts receivable from

 healthcare providers.       Sun Capital would draw on the loans to

 purchase the discounted receivables, and then repay the loans after

 collecting the receivables from the payors. The SEC Action alleged

 that the SEC defendants had solicited funds from investors based

 upon representations that the Stable-Value loans to Sun Capital

 constituted a safe investment opportunity.          These representations

 included that Sun Capital was factoring short-term (i.e., collected

 within 150 days), highly liquid receivables that fully secured the

 loans made by Stable-Value to Sun Capital.

      The   SEC   Action   alleged    that   beginning in   2004,   the   SEC

 Defendants    permitted     Sun     Capital   to    purchase   longer-term

 receivables that were less liquid and much riskier, and to use loan

 proceeds to make working capital loans to financially troubled

 hospitals that Sun Capital had purchased.          The SEC Defendants were

 alleged to have continued to solicit investors without disclosing

 the change in use of the underlying loans and the increased risks

 presented to the safety of their investments.

      The SEC Action alleged that Sun Capital owed $550 million on

 the Stable-Value loans, only 32% of which was invested in and

 secured by the less risky, short-term receivables that the SEC

 Defendants had described to their investors.             The $550 million

 constituted 99% of Stable-Value’s portfolio, and all that remained

 of investors’ money was Sun Capital receivables and any other


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 assets of Sun Capital securing the loans.                The SEC alleged that the

 investors’ money was at immediate risk of being used to support Sun

 Capital’s     working     capital   requirements         and   of    being   diverted

 directly to       the    SEC   Defendants;      that     the   SEC   Defendants     had

 continued     to solicit       investors       without    disclosing    significant

 recent    redemption      requests;   that       the     SEC   Defendants     falsely

 represented to investors that they had audited financial statements

 for 2007; that the SEC Defendants failed to disclose a consent

 Order    in   a   SEC    administrative        proceeding;     and    that    the   SEC

 Defendants used fund assets to pay personnel expenses.

      On April 20, 2009, the Court entered an ex parte temporary

 Order Freezing Assets and Other Emergency Relief (the “Asset Freeze

 Order”), which applied to the SEC defendants and certain named

 relief defendants, and an Order Appointing Receiver for certain

 Founding Partner entities (the Receivership Entities).                       The Asset

 Freeze Order was continued in effect by an Opinion and Order filed

 on May 7, 2009.         On May 13, 2009, the Court denied an SEC request

 for an asset freeze order as to Sun Capital, and disqualified and

 removed the initial Receiver.          On May 20, 2009, the Court entered

 an Order Appointing Replacement Receiver (the “Receivership Order”)

 appointing Daniel S. Newman, Esq. as the replacement receiver (the

 Receiver) of the Receivership Entities.                   The Receivership Order

 provided that the Receiver shall, among other things:

      (a) Take immediate possession of all property, assets and
      estates of every kind of Founding Partners and each of

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      the Founding Partners Relief Defendants, whatsoever and
      wheresoever located, . . .;

      (b) Investigate the manner in which the affairs of
      Founding Partners and the Founding Partners Relief
      Defendants were conducted and institute such actions and
      legal proceedings, for the benefit and on behalf of
      Founding Partners or the Founding Partners Relief
      Defendants and their investors and other creditors as the
      Receiver deems necessary against those individuals,
      corporations,    partnerships,    associations     and/or
      unincorporated organizations which the Receiver may claim
      have wrongfully, illegally or otherwise improperly
      misappropriated or transferred money or other proceeds
      directly or indirectly traceable from investors in
      Founding Partners and the Founding Partners Relief
      Defendants . . .; and

      . . .

      (f) Defend, compromise or settle legal actions, including
      the instant proceeding, in which Founding Partners, any
      of the Founding Partners Relief Defendants, or the
      Receiver are a party, commenced either prior to or
      subsequent to this Order, with authorization of this
      Court . . . .

 The SEC Action remains pending.

 B.   Current Case - “Sun Capital Litigation”

      On July 14, 2009, the Receiver filed a nine-count Complaint

 (Doc. #1) against three Sun Capital entities seeking the recovery

 of over $500 million (the “Sun Capital Litigation”).             The lawsuit

 asserted breach of contract claims arising from the loan agreements

 between Stable-Value      and   Sun   Capital,   as well   as    claims   for

 replevin, foreclosure of security interest, fraudulent transfer,

 and aiding and abetting breach of fiduciary duty.               The case has

 been extensively litigated, with no foreseeable end in sight.             The

 Sun Capital defendants filed an Answer, raised eighteen (18)

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 Affirmative Defenses, and filed a six-count Counterclaim alleging

 breach of    contract   and   promissory    estoppel   (Doc.   #29).      The

 Receiver was allowed to file a twelve-count Amended Complaint (Doc.

 #195), and is prepared to file an additional case asserting claims

 which the Court precluded from being brought as part of the instant

 case.3   (See Doc. #193.)

      On June 1, 2010, the Receiver served numerous subpoenas duces

 tecum on the Sun Capital entities and related entities.                   Sun

 Capital then filed a Motion to Stay the litigation for 120 days for

 purposes    of   settlement   discussions   (Doc.   #196).     The     Motion

 essentially asserted that a significant group of investors were

 engaging in a palace coup of sorts by attempting to settle the Sun

 Capital Litigation (and more) without the Receiver’s participation.

 The Receiver opposed the Motion to Stay arguing, among other

 things, that claims in the Sun Capital Litigation belonged to the

 Receivership, and thus any settlement must involve the Receiver.

      On July 8, 2010, the Court issued an Order (Doc. #202) staying

 the Sun Capital Litigation for 60 days.         In its Order, the Court

 stated, among other things:

      The Court clearly has the discretionary authority to
      grant a reasonable stay in a case, and pursuit of a
      settlement can be a reasonable basis for a stay. This
      particular case is not typical, and literally cries out
      for a good faith effort at resolution before the only


      3
      The Receiver advised the Court at the evidentiary hearing that
 the parties in this case have a tolling agreement as to this
 potential Complaint.

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      people left standing are the lawyers and other litigation
      professionals. It would appear that a settlement may
      only be accomplished if the efforts include substantial
      involvement of an informed Receiver in the settlement
      process. The Receiver was appointed not only for his
      legal and business acumen, but to bring common sense to
      a process, which by its very nature can be complex.

 (Doc. #202, pp. 1-2).     The stay has been extended several times to

 allow continued settlement discussion, and remains in effect.               A

 number of significant motions remain fully briefed and pending.

 C.   The Settlement Agreement

      The terms of the revised Settlement Agreement (Doc. #306-2)

 proposed by the parties to the Sun Capital Litigation extend

 significantly beyond the parties and claims in this case in an

 effort to arrive at a global settlement as to Sun Capital.                 The

 Settlement Agreement provides for relief which none of the parties

 could obtain through this litigation.            It directly impacts the

 parties and consenting investors, and also indirectly impacts non-

 consenting investors.

      The    Settlement   Agreement       essentially    provides    that   the

 ownership   interests    in   the   Sun    Capital     factoring   companies,

 hospital companies, and associated real estate holding companies

 will be transferred to a newly formed, wholly-owned subsidiary of

 Stable-Value, the Founding Partners Designee, LLC, a Delaware

 limited liability company (FP Designee), in exchange for broad

 releases of investor and Receiver claims and potential claims and

 for financial considerations.             Following the conclusion of a


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 Court-approved        investor   claims       process,        the     Receiver      will

 distribute     membership    interests      in    the    FP     Designee      to   those

 investors of the Receivership Entities who join in the Settlement

 Agreement. This will effectively transfer ownership of FP Designee

 from Stable-Value to the investors whose interests are validated

 through the claims process.        Those investors will run FP Designee,

 effectively taking charge of the efforts they hope will maximize

 recovery of their investments. Investors who do not participate in

 the Settlement Agreement will not be eligible for distribution of

 a membership interest in FP Designee, but retain all rights and

 claims they may have against the Sun Capital related parties

 (although Sun Capital would essentially be owned by the settling

 investors).

       More    specifically,      the   material         terms    of    the    proposed

 Settlement Agreement are as follows:

       (1)    Parties:    On one side of the Settlement Agreement are the

 Affiliated Companies, the Principals, the Spouses, and Dawson. The

 Affiliated Companies consist of defendants Sun Capital, Inc. (SCI)

 and   Sun    Capital    Healthcare,    Inc.      (SCHI),      along    with    Success

 Healthcare, LLC (Success), Promise Healthcare, Inc. (Promise) and

 forty-six      (46)     specifically    identified            affiliate/subsidiary

 entities (including defendant HLP Properties of Port Arthur, LLC).

 The individual Principals are Peter R. Baronoff (Baronoff), Howard

 B. Koslow (Koslow), and Lawrence Leder (Leder).                     The Spouses are


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 Malinda Baronoff, Jane Koslow, and Carole Leder.                    Dawson is Mark

 Dawson.      On the other side of the Settlement Agreement are the

 Receiver; FP Designee; and Founding Partners                 Stable-Value Fund,

 Ltd (Stable-Value), Founding Partners Global Fund, Ltd (Global),

 Founding Partners Stable Value Fund II, L.P. (Stable Value II), and

 Founding      Partners    Hybrid-Value           Fund,     L.P.      (Hybrid-Value)

 (collectively, Founding Partners).

       (2)     Required Percentage of Investor Participation:                       The

 Settlement Agreement is conditioned on a certain minimum percentage

 of investors agreeing to participate by executing a form Consent

 and a revised form Release of Claims (Doc. #306-3) attached to the

 Settlement Agreement.          Unless waived by the parties, at least 51%

 in number of the Fund Investors, and 66-2/3% of investment of Fund

 Investors in Founding Partners, must execute releases in order for

 the   obligations      under    the    Settlement       Agreement     to   commence.

       (3)    What Receiver and Settling Investors Receive:                    If at

 least the requisite number of investors approve the Settlement

 Agreement,     the    Receiver     and       settling    investors    receive      the

 following:

              (a)     Ownership of Various Entities: The newly-created

 entity, FP Designee, will become the owner of various entities now

 owned   or   controlled    by    the     Affiliated      Companies,    Principals,

 Spouses, and/or       Dawson.         This    transfer    of ownership      will    be

 accomplished by the following transactions:


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                   (i)    Promise:   Principals and Spouses will transfer

 100% of their equity interests in eleven identified entities to

 Promise.    Promise will issue common stock and will issue preferred

 stock with a liquidation preference and mandatory redemption value

 of $75 million.     Ninety-six percent (96%) of the common shares and

 100% of the preferred shares of Promise will be issued to SCHI in

 exchange for the cancellation of $150 million indebtedness due SCHI

 from Promise.     The remaining 4% of the common stock (the Retained

 Equity) will be retained by Principals, Spouses, and Dawson.              An

 Amended and Restated Articles of Incorporation will be entered by

 the new ownership of Promise.         Pursuant to the next transaction,

 this Promise stock (less the 4%) will effectively be owned by FP

 Designee.

                   (ii)     SCHI/SCI:       Principals   and   Spouses   will

 transfer 100% of the shares of SCHI and SCI to FP Designee.              An

 Amended and Restated Stockholders’ Agreement will be entered.

                   (iii)     Success:       Principals   and   Spouses   will

 transfer 100% of their equity interests in Success to FP Designee.

                   (iv)    Other Entities:    Principals and Spouses will

 transfer 100% of their equity interests in Superior Hospital

 Corporation, Inc. to FP Designee.

             (b)   Description of Entities:       The Receiver represents

 that collectively the entities own or lease and operate eighteen

 hospitals, two medical office buildings and a nursing school.


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                      (i)     Promise:      Promise’s facilities consist of

 fifteen long term acute care hospitals which provide medical care

 to   patients       who    suffer   from    conditions      too   complex   to   be

 effectively managed by skilled nursing or sub-acute facilities, and

 require inpatient care for longer durations than general acute care

 hospitals are organized or staffed to provide.

                      (ii)       Success:        Success,    the   community-based

 hospital division, operates two general acute care hospitals and

 one psychiatric facility as well as two medical office buildings

 and a nursing school.               Success hospitals offer a variety of

 medical-surgical services such as primary care, emergency services,

 general surgery, bariatric surgery, internal medicine, cardiology,

 oncology, senior care, and wound care, and provide inpatient and

 outpatient      ancillary       services        including     rehabilitation     and

 diagnosis.          Success’s    psychiatric       hospital    offers   acute    and

 geriatric services as well as other behavioral care programs.

                      (iii)   Other Entities:        The other entities involved

 own real estate which is utilized by Promise or Success.

               (c)    Senior Term Loan:           After the ownership transfers

 described above, Promise will execute a Loan and Security Agreement

 with SCHI.      This is a guaranteed $75 million senior secured term

 loan which accrues interest at LIBOR4 plus 7.5% annually, payable

 quarterly.      As of closing, this will be deemed to be fully funded

       4
           LIBOR is the acronym for London Interbank Offered Rate.

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 from previous loans made by SCHI to Promise.                                 The loan will be

 repaid upon maturity, which shall not exceed five years after the

 closing.       This    loan    is    secured by             a    first-priority security

 interest in all assets of Promise and its operating and real estate

 subsidiaries, except for: (i) those assets in which the Principals,

 Spouses and Dawson are being granted a security interest (in which

 SCHI    is    obtaining        a    subordinated                second-priority        security

 interest), and (ii) certain accounts and books and records and

 other related assets, which are being pledged to secure a line of

 credit that Promise intends to obtain as a condition precedent to

 the closing.

               (d)      Subordinated      Term       Loan:              After   the     ownership

 transfers described above, Promise will also execute a Subordinated

 Term   Note     with    SCHI.         This    is        a       guaranteed      $125     million

 subordinated term note which accrues interest at 12% annually,

 payable quarterly, and is subordinated to the Senior Term Loan. As

 of the closing, this loan will be deemed to be fully funded from

 previous loans made by SCHI to Promise, and shall have a term of

 five   years        after     closing.         This             loan    is     secured    by    a

 second-priority security interest in all assets of Promise and its

 subsidiaries,        except    for:    (i)    those         assets       in    which    the    Sun

 Principals,     Spouses       and   Dawson        are       being      granted    a    security

 interest (in which SCHI is obtaining a subordinated third-priority

 security interest); and (ii) certain accounts and books and records


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 and other related assets, which are being pledged to secure a line

 of credit that Promise intends to obtain as a condition precedent

 to the closing.

             (e)    Mutual Releases:       Upon closing the transaction, the

 Receiver and the Sun Capital-related individuals and entities will

 exchange mutual general releases in an agreed-upon revised Release

 of Claims form.     The mutual releases do not release each other from

 claims   arising    from   the    closing       Transaction   Documents.    The

 contents of the releases are discussed more fully below.

             (f)      Distribution        from     Receiver:     Following   the

 conclusion of a Court-approved claims process by investors, the

 Receiver will distribute membership interests in the FP Designee to

 releasing investors of the Receivership Entities pursuant to an

 Equity   Transfer     Agreement.         This     will   effectively   transfer

 ownership of FP Designee from Stable-Value to those releasing

 investors whose interests are validated through the claims process.

             (g)    Rights of Recourse:          The Principals and Dawson make

 certain representations and warranties to the FP Designee in

 Schedule 5.2(a) to the Settlement Agreement and in a Disclosure

 Statement substantially in the form as Exhibit N attached to the

 Settlement    Agreement.         These    representations      and   warranties

 survive for a period of 18 months after the closing of the

 transactions (or until certain earlier liquidity events).                   Any

 claim for breach of these representations and warranties must be


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 brought by FP Designee within that 18-month or shorter period.

       (4)        What Defendants (and Others) Receive:            If a sufficient

 number      of     investors   approve    the        Settlement   Agreement,    the

 defendants (and others) receive the following:

              (a)     Releases:    The revised form Release of Claims (Doc.

 #306-3) is a broad release involving not only defendants in this

 case but related persons and entities. The persons and entities to

 be released (Releasees) are virtually anyone connected with the

 defendants, but excluding certain named persons and entities.                    The

 Receiver and investors doing the releasing (Releasors) broadly give

 up all past, current, and future claims for liability in any way

 related to the investments, loans, credit relationship, or use of

 loan proceeds; release claims in a list of specific pending civil

 actions or proceedings (but no criminal proceeding); and release

 any act or omission of the Receiver.                  The claims to be released

 therefore include, without limitation, the parties’ claims in the

 Sun Capital Litigation and the Receiver’s as-yet un-asserted claims

 against individuals and entities other than the defendants that the

 Receiver had sought to add to this case by amendment.                   The release

 does not, however, include any claim arising under or relating to

 the   performance         or   enforcement      of     the   closing    Transaction

 Documents.          The   Releasors   agree     not    to    commence   any   action

 involving the Released Claims, except to enforce a release executed

 in connection with the Settlement Agreement.


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             (b)     Investor “Gag” Provision:          The revised Release of

 Claims obligates the Releasors not “to assist or cooperate with any

 other person to commence, prosecute or pursue any civil claim

 against any Releasee,” but allows Releasors to respond to subpoenas

 or court orders (Doc. #306-3, p.2)             The Releasors must notify the

 affected party of any such supboena or court order.                  A revision to

 the provision adds:      “For the avoidance of doubt, the foregoing is

 not intended to and shall not prevent any Releasor from cooperating

 with any criminal law enforcement authorities.”                Id.

             (c) Confidentiality Provision: The Settlement Agreement

 provides for a broad confidentiality agreement precluding settling

 investors    from    disclosing    a   wide    array    of   information     about

 Principals, Spouses, Dawson, and Sun Capital.                   The Settlement

 Agreement defines confidential information as any information other

 than   “publicly     available    or   freely    useable     material    lawfully

 obtained from another source.”          The provision also includes non-

 disclosure of the terms of the settlement transactions contemplated

 by the Settlement Agreement, although most of that information is

 publicly    available     in   the     court    file.        Additionally,    all

 information obtained from the other parties and attorneys is deemed

 confidential.       The revised provision adds the sentence:                  “The

 foregoing provision shall not be applied to prevent any Party from

 cooperating with any criminal law enforcement authorities.”




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             (d) Indemnification for Breach of Release and Settlement

 Agreement:     If a Releasor breaches the release provisions, the

 Releasor must indemnify and hold harmless each Releasee from

 broadly defined losses and damages.       Additionally, the Principals,

 Spouses,     and    Dawson   (collectively       the     “Indemnitees”)       are

 indemnified from and after the closing by Promise, Success, SCHI,

 SCI and FP Designee for any claims relating to the Indemnitees’

 actions or omissions on behalf of any of the Settlement Entities.

 The indemnification obligations include a duty by the indemnifying

 parties to defend the Indemnitees and to advance all necessary and

 reasonable    expenses    relating   to   any    indemnified       proceedings.

 Certain    types    of   claims,   however,     are    not    covered   by   such

 indemnification.

             (e)    Baronoff Employment Agreement:        Peter Baronoff will

 enter into an Employment and Consulting Agreement with Promise and

 Success, which provides for what is believed to be market-rate

 compensation for his continuing services as President and CEO of

 Promise and Success. The Agreement has been filed under seal (Doc.

 #S-4), but provides for a substantial salary, potential bonuses,

 and payment for consulting services.

             (f)    Koslow Consulting Agreement:              Howard Koslow will

 enter into a Consulting Agreement with Promise which provides for

 payment of $1,800,000 in $50,000 monthly installments for three

 years in exchange for his consulting services. Payment of the fees


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 are secured by a Performance Security.

             (g)      Leder Consulting Agreement:          Lawrence Leder will

 enter into a Consulting Agreement with Promise which provides for

 payment of $1,800,000 in $50,000 monthly installments for three

 years in exchange for his consulting services. Payment of the fees

 are secured by a Performance Security.

             (h) Secured Notes: Principals, Spouses, and Dawson will

 receive    Secured     Promissory     Notes    in   the   aggregate   amount    of

 $5,884,000 payable by Promise. The secured notes will be issued in

 proportion to their ownership interests in Promise following the

 closing.    The secured notes will generally provide for payment of

 the amounts, without interest, in three annual payments.

             (i)      First Priority Lien (Performance Security):               The

 Principals will be granted a first-priority lien on certain real

 and personal property of certain of the Settlement Entities as

 security for any payments due to the Principals, Spouses, or Dawson

 under the Secured Promissory Notes, the Consulting Agreements, and

 for   certain     continuing    personal      guaranty    obligations   of     the

 Principals.

             (j)      Loan Forgiveness:        Loans totaling $1.7 million in

 principal     made     by   various    Sun     Capital-related    entities      to

 Principals and Spouses will be forgiven in their entirety.

             (k) Cancellation of Indebtedness: SCHI will cancel $150

 million indebtedness owed by Promise in exchange for the 96% of the


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 common shares and 100% of the preferred shares of Promise.

              (l) Insurance: For a period of six years after closing,

 Promise     and    Success      will   maintain         director’s       and    officer’s

 insurance for the benefit of any Indemnitee who was serving as a

 director, officer, employee, consultant or agent of any of the

 Settlement Entities.

              (m)    Promise Stock Ownership:                 The Principals, Spouses

 and Dawson will continue to own 4% of the issued and outstanding

 common stock of Promise, in approximate proportion to their current

 ownership interests in Promise.                   This Retained Equity will be

 subordinate to certain amounts payable under the Senior Term

 Facility, the Subordinated Term Loan, and the Preferred Stock.                           In

 addition,    one-half of         the Retained          Equity      may   be    subject   to

 cancellation under certain circumstances.

       (5)   Miscellaneous Other Provisions

              (a)     Governance        Structure        of    FP   Designee      Prior   to

 Distribution:       Upon Court approval, FP Designee will be formed by

 the   Receiver      as     a   subsidiary        of    Stable-Value       operating      in

 accordance with the FP Designee organizational documents.

                     (i)        Prior   to   the       distribution       of    the   equity

 interests in FP Designee to releasing investors whose interests are

 validated in the claims process, FP Designee shall be managed by a

 board of managers (the “Board”) consisting of five members.

                     (ii)       The Receiver (or his designee) may be one of

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 the five members of the Board, and the remaining four members are

 to be persons associated with various investors in the Receivership

 Funds (or their designees) and reasonably qualified to serve in

 such positions.

                    (iii)   Baronoff will be entitled to one seat on the

 Board of Directors of Promise for as long as he serves as CEO of

 Promise.

                    (iv) Until the distribution of membership interests

 of FP Designee to releasing investors is completed, the approval of

 the Receiver or his designee on the Board shall be required to

 approve certain major decisions specified in the FP Designee’s

 organizational documents.

                    (v) In the event that a majority of the other Board

 members oppose the vote of the Receiver or his designee on any such

 major decision, they may, if the Court authorizes such a procedure

 as part of its continuing jurisdiction over the supervision of the

 Receivership, petition this Court to potentially overrule the vote

 of the Receiver or his designee on such major decisions.

                    (vi)    FP Designee anticipates that following the

 distribution      of   membership   interests   to   releasing   investors

 pursuant to the pre-closing claims process, new Board elections

 will be held, with the Board to be selected by vote of the members

 of FP Designee.

             (b)    Conditions to Closing:        The obligations of the


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 parties    to   consummate      the   transactions      contemplated   by   the

 Transaction Documents are contingent upon, among other things,

                   (i) entry of an order of the Court approving the

 Settlement Agreement and granting related relief;

                   (ii) the Receiver’s receipt of advice as to the

 application of New York law to the applicable Transaction Documents

 by New York corporate counsel to be retained by the Receiver and to

 be paid by the Settlement Entities or Sun Entities, and the

 Receiver being satisfied with such advice;

                   (iii)    receipt     of    all   necessary    governmental

 authorizations or third-party consents;

                   (iv) accuracy of representations and warranties of

 each party and performance of the covenants applicable to such

 party;

                   (v) entry by Promise into a working capital line of

 credit; and

                   (vi)    the    solicitation      of    releases   from    all

 Receivership Fund investors and receipt of a sufficient number of

 executed releases from the investors in the four Receivership

 Funds.

                                       III.

       Although this case does not involve a class action, all

 parties and investors, including the objectors, agree that the

 Court applies the standard developed in class action cases for

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 review of the proposed settlement agreement.5            A district court

 reviews a class action settlement for fairness, reasonableness,

 adequacy, and the lack of collusion between the parties, and

 considers such factors as: “(1) the likelihood of success at trial;

 (2) the range of possible recovery; (3) the range of possible

 recovery at which a settlement is fair, adequate, and reasonable;

 (4)    the   anticipated    complexity,      expense,   and   duration   of

 litigation; (5) the opposition to the settlement; and (6) the stage

 of proceedings at which the settlement was achieved.”            Faught v.

 Am. Home Shield Corp., 668 F.3d 1233, 1240 (11th Cir. 2011).             See

 also Cotton v. Hinton, 559 F.2d 1326 (5th Cir. 1977).6         Approval of

 a settlement agreement is within the sound discretion of the court.

 Christo v. Padgett, 223 F.3d 1324, 1335 (11th Cir. 2000); Leverso

 v. Southtrust Bank, 18 F.3d 1527, 1531 (11th Cir. 1994).

 A.    Factors For Fair, Reasonable, and Adequate Settlement

       The ultimate issue is whether the Settlement Agreement is

 fair, reasonable, and adequate.7          The very nature of settlement is



        5
      Court approval of a settlement in this case is only required
 because the Receiver is compromising claims affecting the
 Receivership Entities in the SEC Action.
       6
       In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir.
 1981) (en banc) the Eleventh Circuit adopted as binding precedent
 all the decisions of the former Fifth Circuit handed down prior to
 the close of business on September 30, 1981.

       7
      No one argues that there has been collusion between the
 parties, and the Court affirmatively finds a lack of collusion.

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 compromise, which leaves no one completely satisfied.                       Simply

 because good faith arguments can be articulated does not render a

 settlement unfair, unreasonable, or inadequate. This is especially

 so in this case, where regardless of the Court’s view, each

 investor gets to vote with his feet.              An investor can simply walk

 away,   not    sign   the   Consent    or    Release,      and   pursue   its    own

 individual       claims   against     defendants,     or    if   the    Settlement

 Agreement is approved, against FP Designee.

       (1)     Likelihood of Success at Trial

       The Receiver evaluates his likelihood of success in the case

 as “uncertain.”       (Doc. #279, p. 8.)      This seems to the        Court to be

 a realistic appraisal.       While convinced of the merits of the case,

 the Receiver candidly notes that both legal and factual issues are

 hotly contested       and   the   Court     has   already ruled        against   the

 Receiver    on    several   key     requests.      The     strongest    individual

 investor claim appears to be that of the Archdiocese, but that only

 comprises a very small percentage of the claims to be settled.                   Sun

 Capital remains vociferous as to its innocence, and significant

 defenses and counterclaims have been asserted. Litigation outcomes

 are seldom a certainty, but this case appears to be especially

 problematic for all involved.

       (2)     Range of Possible Recovery

       The possible judgment in this case in favor of the Receiver

 ranges from $0 to the $500 million-plus sought in the Complaint.


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 The   range    of    possible    recovery       on   any     positive    judgment    is

 substantially less, since the likely collectable value of even a

 $550 million judgment may be virtually pennies on the dollar.                       The

 Receiver views the value of defendants (estimated by the Receiver

 at between $115 and $203 million) as being their assets and the

 ongoing business operations of Promise, not in an ability to pay a

 judgment.        The       objectors     have     submitted      sealed    documents

 questioning the future viability of the entities as an ongoing

 business.      Additionally, defendants have asserted a Counterclaim

 which may be offset against any recovery by the Receiver.                           The

 Receiver      also   notes     the     possibility      of    eventual    bankruptcy

 protection for defendants.             As Receiver’s counsel stated at the

 fairness hearing, even a litigation win may be simply a pyrrhic

 victory.

       (3) Range of Possible Fair, Adequate, and Reasonable Recovery

       The   range     of    fair,    adequate     and   reasonable       recovery   is

 similarly large.       All things being equal, the defendants owe the

 $500 million-plus loaned to them.               But the uncertainty of judgment

 and recovery by the Receiver also infects the calculation of a

 reasonable settlement range.             As discussed in more detail below,

 the Court concludes that the proposed Settlement Agreement is well

 within the range of fair, adequate, and reasonable recoveries.




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       (4)      Anticipated       Complexity,       Expense,    and     Duration   of

 Litigation

       There is no question that if this case does not settle, its

 litigation will be lengthy, time-consuming, expensive, and most

 likely unsatisfying to all concerned.                The Receiver-related fees

 are approximately $2 million.               Just the sealed documents on the

 pending motion for a preliminary injunction are more than a foot

 thick.      Discovery would continue, with 61 subpoenas from the

 Receiver alone outstanding.               Issues seem to abound, and no issue

 seems    too    small       to   demand    close   attention    and     substantial

 memoranda. Counsel for the Receiver stated at the fairness hearing

 that if litigation is to proceed, the complaint in the anticipated

 new case would be “bigger, messier, uglier, and more involved than

 the current proceedings.”            This factor clearly favors settlement.

       (5)   Stage of Proceedings of Settlement

       While it pains the Court to state about a case filed in 2009,

 the proposed Settlement Agreement comes at a relatively early stage

 of the court proceedings.            Major motions and issues are pending,

 significant discovery is sought by the parties if there is no

 settlement, and the shadow of a complex and lengthy trial does not

 yet loom over the case.

       (6)   Opposition to the Settlement

       The   proposed        Settlement      Agreement    has   drawn    significant

 opposition      for     a    material     number    of   investors.       As   noted

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 previously, three sets of objections have been filed concerning the

 proposed Settlement Agreement.             As the Court understands, the

 objectors do not object to a settlement of the litigation in

 principle, but object to this settlement. The Court will summarize

 and then discuss the major objections by category.                      The Court

 adopts the positions articulated by the Receiver (Doc. #279, pp. 6-

 47)   and   defendants   (Doc.   #278,     pp.    4-42)   to     the   extent   not

 inconsistent with the discussion below.

             (a)   Lack of Reliable Information:             The objectors all

 assert a need and desire for more reliable information about Sun

 Capital before being called upon to decide whether to accept the

 Settlement Agreement.      The objectors seek what they consider to be

 reliable     financial   information,       such     as    audited      financial

 statements and interim financial statements prepared in accordance

 with U.S. Generally Accepted accounting Principals (GAAP), to

 support the value of the Sun Capital settlement entities.                       The

 objectors recognize the voluminous information provided via the

 Receiver’s online data room and do not contest the Receiver’s

 diligence in providing the information.              Instead, the objectors

 assert this information is tainted because it comes in large part

 from the persons accused of wronging in the first place.                        The

 objectors seek completed audits for 2009 and 2010, supplemented by

 GAAP-based    interim    financials      for     2011,    plus    production     of

 information regarding the tax impact of the proposed settlement on


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 the settling entities and Founding Partner funds, a formal tax

 opinion, and a third-party valuation opinion as to the value of the

 settlement entities. The objectors also seek additional discovery,

 including various unaudited financial statements.             All this is

 necessary, the objectors assert, in order to form a reliable

 opinion of the value of the settlement assets to make the ultimate

 determination as to whether to accept the Settlement Agreement.

       It is a fact of litigation life that no one wants to make a

 settlement decision until the last tidbit of information has been

 obtained.    It is also a fact of litigation life, however, that by

 the time all information sought is obtained, the benefits of

 settlement may have long since evaporated.            It is clear to the

 Court that a tremendous amount of information has been obtained and

 shared, although clearly not as exhaustive as it will be if the

 case is not settled.      Further, even if the settlement is rejected

 and litigation proceeds, not all of the information sought by the

 objectors will necessarily be available.        The Court finds that the

 information obtained and shared by the Receiver, as summarized at

 Doc. #279, pp. 16-22, is sufficient to allow the investors to make

 intelligent decisions as to the Settlement Agreement.

             (b)    Lack of Financial Transparency:          The objectors

 assert that certain aspects of the Settlement Agreement have been

 sealed, thus preventing the investors from accurately valuing the

 assets they are to receive.      The sealed information relates to the


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 amount and terms of the working capital line of credit for Promise

 and the third-party advisory fees paid by defendants in connection

 with the proposed settlement.          There is also an objection to fees

 paid   to   the   FP    Investor     Steering   Committee.         Additionally,

 objectors assert they have not been provided six specified items of

 promised confidential information.           (Doc. #260, p. 17.)

        Much of the requested information has now been disclosed.

 (See Docs. #279, p. 26; #293).          The Court therefore concludes that

 the investors have been provided ample information to make a

 reasonable evaluation of the Settlement Agreement.

             (c)        Continued     Participation   by       Principals:       The

 objectors take exception to the consulting agreements with the

 Principals    and    the   continued    employment       of   Baranoff    as    CEO.

 Essentially, the objectors assert this simply continues to keep the

 fox in the hen house.

        At the fairness hearing, counsel for the Receiver stated that

 this issue had been considered and it was determined that the

 Receiver needed the expertise of these individuals to give the FP

 Designee a better chance of success.              A board of directors will

 exist which will provide close supervision.               The Court finds the

 objectors’    concerns     to   be   justified,    but    concludes      that   the

 Receiver’s position and protective measures are reasonable.

             (d)     Indemnification Provisions:          The objectors assert

 that the indemnification obligation under the Settlement Agreement


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 is over broad, unduly favorable to the Principals, and potentially

 limitless.     It essentially requires the releasing investors to

 indemnify the Principals for their fraudulent behavior, and to

 ultimately be responsible for paying any recovery obtained by non-

 releasing investors.

       The investors are certainly correct in their observations that

 the indemnification provisions are broad and favorable to the

 Principals.       Counsel for the Receiver indicated this, and many

 other provisions, were the subject of intensive negotiations.

 There is nothing unusual about indemnification in general, and the

 investors will simply have to decide for themselves whether the

 breadth and scope of this indemnification provision is unduly

 favorable towards the Principals. While the provision is certainly

 worthy of careful consideration, it does not render the Settlement

 Agreement inherently unfair, unreasonable, or inadequate.

             (e)    Limitations on Setoff Rights:     The objectors object

 to FP Designee’s limited rights of setoff against future payments

 owed to the Principals in § 9.15 of the Settlement Agreement if

 there are breaches of any representation, warranty or covenant in

 the Transaction Documents. Objectors assert this superficial right

 is “practically useless.”         (Doc. #260, p. 18).         This is so,

 objectors contend, because damages can only be set off against

 amounts owed after a final, non-appealable judgment, and by the

 time such a judgment is obtained it is likely that there will be


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 little or nothing in the way of payments still owed to the

 Principals     and    therefore     little    to    be   set    off    against.

 Additionally, these investors object because the provision would

 not cover breaches of representations, warranties or covenants of

 Sun Capital, which are substantially more extensive than those of

 the Principals.

       The set-off provision includes an escrow provision which

 ameliorates some of the concerns.           The desire of a final judgment

 is certainly not unreasonable or unfair to warrant disapproval of

 the settlement agreement.        The investors will simply have to weigh

 this provision along with the others to determine if the Settlement

 Agreement overall meets with their approval.

             (f) Formula for Distribution of Investor Interest in New

 Entity:    The objectors assert that the terms for determining an

 investor’s    share    in   FP   Designee    are   vague.      The    Settlement

 Agreement provides that the exact formula for this calculation will

 be submitted by the Receiver to the Court as part of a request to

 approve a claims process.         Objectors claim a need for the precise

 formula now.         The Court finds that a precise formula is not

 necessary for the investors to be able to determine whether to

 approve or disapprove the Settlement Agreement.

             (g)      Magnitude of Related Party Transactions:                The

 investors object to the magnitude of related party transactions

 orchestrated by the Principals since the date of the Security


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 Agreements.    The transactions exist, and they are addressed as set

 forth in the Settlement Agreement.          The investors can keep the

 magnitude in mind as they contemplate the proposed resolution of

 the case.

             (h)   Lack of Evaluation of Investor Claims By Receiver:

 The objectors assert that the Receiver should have performed a more

 detailed investigation of the individual claims which will be given

 up pursuant to the releases.        The objectors assert that not all

 claims are identical in terms of merit or strength, and that no

 effort was made in the settlement process to determine the factual

 basis for the claims.      The Archdiocese, for example, asserts that

 its claim     is the strongest and is unique and “highly viable”

 (Doc. #259, p. 15.)

       The Court finds that the Receiver has performed a sufficient

 evaluation of the investor claims and had no obligation to conduct

 any additional evaluation of the investor claims than was done in

 this case.     It would be surprising if all claims were of equal

 strength or merit, but this does not suggest that the Settlement

 Agreement would be different.       The individual investors are in the

 best position to evaluate the strength and merit of their own

 claims, and factor that into their evaluation as to whether or not

 to accept the Settlement Agreement.           Even when claims of non-

 settlors are to be barred, only a “very preliminary peek” is

 suggested. In re Healthsouth Corp. Sec. Litig., 572 F.3d 854, 867-


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 68 (11th Cir. 2009).

             (i)   Release of Criminal Investigation:      The Archdiocese

 of New Orleans (the Archdiocese) objected to that portion of the

 original Settlement Agreement release which identifies a criminal

 investigation by the Louisiana Attorney General as one of the

 claims subject to the Settlement Agreement and the releases.            The

 Archdiocese also objected to the provision of the Settlement

 Agreement release which precludes assistance or cooperation with

 anyone, including law enforcement officials.             In its original

 Opinion and Order, the Court stated:

            This objection, especially when coupled with the
       broad confidentiality agreement contained in the
       Settlement Agreement, gives the Court grave concern.
       None of the parties or the investors have the legal
       ability to “release” a criminal investigation or
       prosecution. Whether to investigate and prosecute, and
       what charge to file, are decisions that generally rest in
       the sole discretion of the executive branch, United
       States v. Batchelder, 442 U.S. 114, 124 (1979), and is
       not subject to the private agreement between citizens.
       A person who relies upon a confidentiality agreement to
       preclude testimony in a criminal proceeding does so at
       his peril. United States v. Snipes, 611 F.3d 855, 871
       (11th Cir. 2010). Additionally, even where a private
       confidentiality agreement is otherwise proper, it will
       not be enforced where its effect becomes obstructive of
       the rights of non-parties. See, e.g., Nestor v. Posner-
       Gerstenhaber, 857 So. 2d 953, 955 (Fla. 3rd DCA 2003);
       Scott v. Nelson, 697 So. 2d 1300, 1301 (Fla. 1st DCA
       1997).
            The Court will not approve a settlement agreement
       which precludes a person or entity from doing what is
       commonly recognized as a public duty - cooperating with
       law   enforcement   regarding    the   apprehension   and
       prosecution of those who violate criminal laws.       The
       prosecuting authorities may or may not decide to charge
       anyone or any entity, but it will not be because this
       Court has sanctioned a gag order which precludes

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       cooperation. As one New York court has stated in the
       employment context,
            Restrictions on discussion of the outcome of
            litigation do not carry the same risks as
            restraints on freedom of expression regarding
            underlying wrongdoing, if any.     While such
            matters as monetary amounts of settlements, or
            even their very existence, may be of little or
            no genuine public interest, the courts can
            hardly   be   called   upon  to   enforce   an
            employer-employee exit agreement for the
            covering up of wrongdoing which might violate
            criminal laws. Disclosures of wrongdoing do
            not constitute revelations of trade secrets
            which can be prohibited by agreements binding
            on former employees.

       McGrane v. Reader’s Digest Ass’n, 822 F. Supp. 1044, 1052
       (S.D.N.Y. 1993).       See also Chambers v. Capital
       Cities/ABC, 159 F.R.D. 441, 444 (S.D.N.Y. 1995).

 (Doc. #304, pp. 33-34.)

       The parties have now agreed to revisions in the settlement

 agreement and release form which eliminates the Court’s concern in

 this area. The revised Release of Claims form added “civil” to the

 description of the claims release, and added the sentence:                 “For

 the avoidance of doubt, the foregoing is not intended to and shall

 not prevent any Releasor from cooperating with any criminal law

 enforcement authorities.”       The revised confidentiality provision

 adds the sentence:     “The foregoing provision shall not be applied

 to   prevent   any   Party   from   cooperating    with   any   criminal    law

 enforcement authorities.”

             (j)   Scope of Release:        Some of the investors object to

 the scope of the release as it relates to non-defendant third

 parties.    They assert that the Settlement Agreement compromises

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 claims the Receiver does not own, and claims against third parties

 not formally before the Court as defendants.         These objectors also

 assert that the global settlement lacks consideration and violates

 due process because they were denied access to discovery and their

 cases (if filed, such as was done by the Archdiocese) were stayed

 by the Receivership Order.       These objectors also assert that the

 Court lacks jurisdiction to approve such a settlement agreement.

 Objectors want to participate in the recovery provided in the

 Settlement Agreement without waiving or releasing their direct

 claims against the defendants and related parties. They claim that

 the denial of such participation without releases is “tantamount to

 denial of due process.”          (Doc. #259, p. 13).         Additionally,

 objectors point to bankruptcy court cases which refuse to confirm

 a plan for reorganization containing third party releases. (Id. at

 14-15.)

       These objections are overruled.       No investor is compelled to

 accept the Settlement Agreement, and no investor suffers the loss

 of a claim unless the investor accepts the Settlement Agreement.

 There is clearly consideration if the settlement is accepted, and

 no violation of due process.       The Court also rejects the argument

 that it cannot approve a settlement which provides for third party

 releases.    See e.g., In re Van Diepen, 236 F. App’x 498, 503 (11th

 Cir. 2007).     Settlement agreements frequently include provisions

 extinguishing future claims by settling and even non-settling


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 parties     to    facilitate    settlement.       In    re   Healthsouth        Corp.

 Securities Litigation, 572 F.3d 854, 856 n.3 (11th Cir. 2009).

              (k)     Religious Rights:        The Archdiocese objects to the

 Settlement Agreement as violating a host of its constitutional

 rights    relating     to   religious    freedom.       Since    the    Settlement

 Agreement        contemplates   the     investors      ultimately      owning     and

 operating FP Designee, the Archdiocese is concerned that the

 activities of the entity and its hospitals may deviate from any

 number of its religious teachings and principles.               The Archdiocese

 asserts that considering the Settlement Agreement itself also

 violates its constitutional rights to religious freedom, free

 speech, and association under the First Amendment.

       The   Court     rejects   these    objections.         Nothing    about     the

 Settlement Agreement impinges on the Archdiocese’s constitutional

 rights.     The Archdiocese decided to invest in secular activities,

 and now finds itself the victim of allegedly fraudulent statements.

 The Archdiocese is free to reject the Settlement Agreement for any

 reason, including the religious concerns it has articulated.                      But

 a settlement agreement is not required to be tailored to the

 religious beliefs of each investor.

              (l) Inclusion of Hybrid-Value Fund:             Objectors TJNJH and

 Olberts8 (the Hybrid-Value objectors) object to the inclusion in



       8
      TJNJH and Olberts are the only objectors who are investors in
 both Stable Value and Hybrid Value.

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 the Settlement Agreement of the Hybrid-Value fund in its entirety,

 rather than inclusion limited to its actual investments made in the

 Stable-Value funds. The Hybrid-Value Objectors assert that while

 the Complaint relates to claims arising from loan agreements

 between Stable-Value and Sun Capital entities, there are no loan or

 other agreements between the Hybrid-Value fund and any Sun Capital

 entity.        The thrust of the settlement, they assert, is to pool

 funds     unrelated     to     this   action    and    then    have    a      pro-rata

 distribution of assets recovered from all of the funds.                          These

 objectors further assert that any plan of distribution must be

 entirely separate from that involving the Stable Value funds,

 although the Hybrid-Value fund should be treated as a single

 investor in Stable Value funds and share in any settlement on its

 pro     rata    share   of     the    investment      in   Stable     Value     funds.

 Additionally, the Hybrid-Value Objectors assert that a separate

 plan as to how the Hybrid-Value fund should be managed in the

 future must be developed with the full participation of its 12-15

 investors       after   full   disclosure      of   material   by     the     Receiver

 regarding the eleven private equity investments which comprise the

 Hybrid-Value portfolio.

       In response, the Receiver and the defendants contend that this

 argument relates to the calculation of the shares of the Releasing

 Investors’ interest in the FP Designee should the settlement be

 approved.       Thus, this is a distribution issue and is prematurely


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 raised at this time.       As to the merits of Hybrid-Value Objectors’

 objection, the Receiver contends that in the event he chooses to

 utilize a pro rata distribution approach such a distribution would

 be proper because the investors’ funds have been commingled and the

 victims are similarly situated.        The defendants disagree with this

 approach, and join with TJNJH and Olberts in arguing that Hybrid

 Value      should   only   receive     settlement   proceeds    which     are

 proportionate to Hybrid Value’s actual investment in Stable Value.

       The Hybrid-Value Fund, unlike Stable-Value, was created for

 investment in private equity. The Hybrid-Value Fund did not invest

 fully in     Stable   Value,   which   ultimately   loaned   money   to   Sun

 Capital, and there is no dispute that Hybrid-Value was not party to

 any contract with Sun Capital or any of its affiliates.                   The

 parties seem to agree that at least a small portion of funds

 invested into Hybrid-Value found its way into loans made to Sun

 Entities, but the amount of funds involved, and how these funds

 found their way into the loans, is unclear.9          Either Hybrid Value

 invested directly in Stable Value, as the Complaint in the SEC

 action suggests, or, SSR Capital Partners, LP10, one of the 11


       9
      The Hybrid-Value objectors specifically state, “only a small
 portion of the funds invested by the dozen or so Hybrid-Value fund
 investors in the private equity portfolio found its way into loans
 made to Sun Entities and, significantly, no cognizable action has
 been brought or even asserted by the Receiver in connection with
 defrauding Hybrid-Value fund investors.” (Doc. #75-5, p. 7.)
       10
       SSR Capital Partners, LP is a hedge fund that invested in
 Stable-Value.

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 separate investment vehicles within Hybrid-Value’s portfolio, made

 an indirect investment of Hybrid-Value funds into Stable Value

 which ultimately found their way into the Sun Capital loans.

       The Hybrid-Value objectors do not make any argument that

 Hybrid    Value      investors     should       be   excluded       from    settlement

 negotiations in this case, nor do they make an argument that none

 of   their    funds      should   be    included     in    the   settlement       funds.

 Instead, these objectors assert that “it would be unreasonable and

 unfair . . . for the Receiver to be allowed to lump the Hybrid-

 Value    fund,      in   its   entirety,    with     the    assets    of    all   other

 “Receivership        Funds.”       (Doc.        #275-5,    pp.     8-9)(emphasis       in

 original).         Hybrid-Value Objectors also seek to be treated as a

 single investor in Stable Value for purposes of distribution of FP

 Designee.      These objectors assert that any distribution should be

 on a pro rata basis based on the proportionate interest in Stable

 Value.

       The Hybrid-Value Objectors object to the manner in which the

 Receiver will distribute assets, namely a pro rata distribution,

 despite      the    fact   that   the    Receiver     has    yet    to     establish   a

 distribution plan.         Thus, the objection, as it relates to pro rata

 distribution, is speculation and premature. Accordingly, the Court

 overrules this objection at this time. This is simply a settlement

 term that investors in Hybrid-Value must consider when deciding

 whether or not to approve the settlement, and does not render the


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 Settlement Agreement unfair or unreasonable.

       The Hybrid-Value objectors also request that the Receiver

 contact    all     of    the    Hybrid-Value     Investors    “to    discuss      the

 possibility       of     turning     over    direct   responsibility       for     the

 management and control of the fund to its investors.”                  (Doc. #275-

 5, p. 9.)         These objectors contend that they are capable of

 assuming responsibility for the management and control of the

 assets that underlie Hybrid-Value and therefore the Receiver should

 relinquish control.

       The Hybrid-Value objectors have failed to provide the Court

 with a legitimate basis to terminate the receivership over this

 entity.    To the extent that these objectors take issue with the

 appointment of the Receiver, their objection is untimely and

 without a demonstrated legitimate basis.

       Accordingly, it is now

       ORDERED:

       1.      Joint Motion for Approval of Revised Settlement Agreement

 and Amendment of May 17 Opinion and Order (Doc. #306) is GRANTED.

 The   Court      finds    the    revised     Settlement    Agreement    is       fair,

 reasonable,      and     adequate,    and    therefore    approves   the     revised

 Settlement Agreement.

       2.   The Court’s Prior Opinion and Order (Doc. #304) is hereby

 SUPERCEDED by this Opinion and Order.

       3.      The Joint Motion for Expedited Approval of Proposed


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 Procedure to Obtain Court Approval of the Proposed Settlement

 Transaction (Doc. #248) is GRANTED to the extent the Court has

 approved the settlement agreement as revised.

       4.   The Receiver and other parties are authorized to proceed

 to effectuate the settlement transaction in accordance with the

 revised Settlement Agreement.

       5.    The Court shall retain jurisdiction over all matters

 relating to the enforcement of the Settlement Agreement and other

 Transaction Documents.

       DONE AND ORDERED at Fort Myers, Florida, this          28th    day of

 August, 2012.




 Copies:

 Counsel of record




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